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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,
                                                           Case No.: 8:25-CV-00951-PX
v.

Kristi Noem, et al.,

                       Defendants.


              Plaintiffs’ Motion To Release Sealed Transcript of Motions Hearing

       The Court Reporter has indicated that a portion of the hearing referenced at ECF No. 147

is sealed and that an order granting permission for counsel to obtain this transcript is necessary. In

counsel’s professional judgment, access to this transcript is reasonably necessary to the discharge

of counsel’s responsibilities as counsel for Plaintiffs.

       WHEREFORE, Plaintiffs request that the Court enter an order authorizing and requiring

the release of the transcript for the hearing referenced at ECF No. 147 to counsel for Plaintiffs and

Defendants.
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Dated: May 20, 2025

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